                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR10-4083-MWB
 vs.                                                           ORDER
 SIDNEY CHARLES,
               Defendant.
                                 ____________________


       The defendant has filed a motion (Doc. No. 129) to sever his case from that of his
codefendants on the basis that “the Government’s case against the co-defendants differs
widely from the factual allegations made against Defendant Charles.” The defendant
argues the Government’s case only involves three drug transactions, or attempted
transactions, in which he allegedly was involved, while the case against the other
codefendants involves nine other charged counts of possession or distribution with which
Charles had no involvement. He argues there “was no common scheme or agreement
between [himself] and the other defendants,” and he only knew the other defendants either
by relation, association, or acquaintance. Charles argues he would be prejudiced unfairly
by a joint trial with the codefendants.
       The Government has filed a motion (Doc. No. 152) for an extension of time until
December 27, 2010, to respond to Charles’s motion. The Government’s motion is denied.
The trial of this case is scheduled for January 3, 2011, making a December 27th response
date unworkable for the court and the parties. In any event, the court does not require the
Government’s response to rule on Charles’s motion.
       Regarding joinder of trials, the United States Supreme Court has held:
              Rule 8(b) states that “[t]wo or more defendants may be
              charged in the same indictment or information if they are



    Case 5:10-cr-04083-LTS-KEM            Document 155   Filed 12/21/10    Page 1 of 3
             alleged to have participated in the same act or transaction or in
             the same series of acts or transactions constituting an offense
             or offenses.” There is a preference in the federal system for
             joint trials of defendants who are indicted together. Joint trials
             “play a vital role in the criminal justice system.” Richardson
             v. Marsh, 481 U.S. 200, 209, 107 S. Ct. 1702, 1708, 95
             L. Ed. 2d 176 (1987). They promote efficiency and “serve the
             interests of justice by avoiding the scandal and inequity of
             inconsistent verdicts. Id., at 210, 107 S. Ct., at 1708. For
             these reasons, we repeatedly have approved of joint trials. See
             ibid.; Opper v. United States, 348 U.S. 84, 95, 75 S. Ct. 158,
             165, 99 L. Ed. 101 (1954); United States v. Marchant, 12
             Wheat. 480, 6 L. Ed. 2d 700 (1827); cf. 1 C. Wright, Federal
             Practice and Procedure § 223 (2d ed. 1982) (citing lower court
             opinions to the same effect). But Rule 14 recognizes that
             joinder, even when proper under rule 8(b), may prejudice
             either a defendant or the Government. Thus, the Rule
             provides:

                    If it appears that a defendant or the government
                    is prejudiced by a joinder of . . . defendants . . .
                    for trial together, the court may order an election
                    or separate trials of counts, grant a severance of
                    defendants or provide whatever other relief
                    justice requires.
Zafiro v. United States, 506 U.S. 534, 537-38, 113 S. Ct. 933, 937, 122 L. Ed. 2d 317
(1993).
      However, “[a] defendant is not entitled to severance merely because the evidence
against a co-defendant is more damaging than the evidence against him. . . . Severance
becomes necessary [only] where . . . a jury could not be expected to compartmentalize the
evidence as it relates to separate defendants.” United States v. Mathison, 157 F.3d 541,
546 (8th Cir. 1998). Charles has made no specific claims that are sufficient to overcome
the preference for a joint trial. See United States v. Frazier, 280 F.3d 835, 844 (8th Cir.
2002). “Where multiple defendants are tried together, the risk of undue prejudice is best


                                             2


   Case 5:10-cr-04083-LTS-KEM         Document 155        Filed 12/21/10    Page 2 of 3
cured through cautionary instructions to the jury.” United States v. Boone, 437 F.3d 829,
838 (8th Cir. 2006) (citing United States v. Mickelson, 378 F.3d 810, 817 (8th Cir. 2004)).
       Charles has failed to meet his burden to show he would suffer serious prejudice
from joinder with his codefendants for trial. His motion to sever is denied.
       IT IS SO ORDERED.
       DATED this 21st day of December, 2010.




                                          PAUL A. ZOSS
                                          CHIEF MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




                                            3


   Case 5:10-cr-04083-LTS-KEM         Document 155       Filed 12/21/10    Page 3 of 3
